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EXHIBIT 1
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WILLIAM ANDERSON; July 7, 2010

 

 

 

 

 

 

 

 

Page 1 /
1 UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE
2
WILLIAM ANDERSON, )
)
4 Plaintiff(s), )
)
5 vs. ) CO09-0850 RAJU
)
6 THE BASEBALL CLUB OF SEATTLE )
d/b/a THE SEATTLE MARINERS; )
7 THE CITY OF SEATTLE; JASON )
WEAVING; LARRY HARVEY; LARRY )
8 MEYER; OFFICER TIMOTHY )
RENIHAN; TRENT BERGMAN; )
9 OFFICER DAVID SULLIVAN; )
OFFICER JUAN ORNELAS; JOHN )
10 DOE NOS. 1-10, )
)
11 Defendant(s). )
12
DEPOSITION UPON ORAL EXAMINATION OF
13 WILLIAM ANDERSON
14
10:10 A.M.
15
JULY 7, 2010
16
705 SECOND AVENUE, SUITE 1500
17
SEATTLE, WASHINGTON
18
19
20
21
22
23
24
25 REPORTED BY: MARY L. GREEN, CCR 2981

 

 

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WILLIAM ANDERSON; July 7, 2010

 

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A. Earlier that day, yes.

Q. Do you recall any actual sales that you made
that day, sales of Mariners tickets?

A. No. I can't remember.

Q. Did you have any physical contact with Officer
Renihan or the other police officers on June 18, 2006,
in the incident described in your complaint?

A. It's too vogue.

Q. Too vague?

A. Vague, yeah.

Q. By physical contact, I mean did they come into
touching -- let me rephrase the question. Did they
ever touch you or did you ever touch them?

A. No.

Q. In your complaint, which is Exhibit Number 3
-- I think it's the one on your left there -- you'll
find that entry that describes the June 18, 2006,
incident. Do you think it would be handier if we
stapled that together?

A. Yeah. I think.

Q. I think, Mr. Anderson, somewhere around page 4
or 5 toward the bottom of that you describe the result
of your interaction with the officers; that you lost
sales and so forth. Can you find that portion?

A. The results of what?

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WILLIAM ANDERSON; July 7, 2010

 

Page 61
1 to court for those? 7

2 A. No, sir.
3 Q. Had you ever been cited before June 18, 2006,

4 for anything associated with ticket sales around the

 

5 stadium complex?
6 A. Repeat that again.
7 Q. Had you ever been cited prior to June 18,

8 2006, for ticket sale activities around the stadium

9 complex?

10 A. Have I ever been cited before?

11 Q. Before 2006, June 18.

12 A. Yes.

13 Q. Did you have to go to hearings associated with

 

14 that citation?
15 A. Yes.
16 Q. So what was it about the June 18, 2006, August

17 2, and August 27, 2006, citations that led you to

 

18 believe you wouldn't have to come to court for

19 hearings?

20 A. The difference was that I received citations
21 and there was several incidents where I did not receive
22 any citations.

23 Q. But on the ones where you received citations,

 

24 you had to go to hearings, correct?

25 A. Yes.

 

   

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WILLIAM ANDERSON; July 7, 2010

 

 

 

Page 67
1 A. Which one are you talking about, sir? |
2 QO. August 2, 2006.
3 A. Yeah. They took my tickets from me.
4 Q. How many tickets?
5 A. I believe it was two.
6 Q. Where did you get the tickets?
7 A. Bought it from a customer.
8 Q. How much did you pay for it?
9 A. Can't remember.
10 Q. Do you have that information recorded anywhere

11 so that you can figure out what you paid for them?

 

 

 

12 A. No.

13 Q. How many tickets had you sold that day?

14 A. Can't remember.

15 Q. Do you know if you'd sold any?

16 A. Sure I sold some that day.

17 Q. How can you be sure?

18 A. Once again, I'm sure I sold some that day.

19 Q. Can you articulate why you're sure you did?
20 A. No.

21 Q. Mr. Anderson, if you are in the process of

22 trying to sell tickets outside of the Mariners game

 

23 after you've purchased them from fans or from whatever
24 source you get them from, do I understand correctly

25 that the method is essentially to make it known to

 

     

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WILLIAM ANDERSON; July 7, 2010

 

Page 90
1 Q. Let's turn to April 14 of 2009, the next :

2 incident in your complaint. Were tickets taken from

 

3 you on April 14 of 2009?

4 A. Yes.

5 Q. How many?

6 A. Two.

7 Q. How do you know that?

8 A. Because there were two tickets I was selling

9 to the customer that I had across the street from the

 

10 Mariners stadium.

11 Q. I'm sorry, Mr. Anderson. I missed the first
12 three words of that sentence. Will you repeat it for
13 me?

14 A. I had a customer when we were approached. He
15 was interested in buying two tickets from me, and those
16 are the two tickets that were taken from me.

17 Q. And which officer took those tickets from you?

 

18 A. It was actually two officers there at the same
19 time. I can't remember who I gave the tickets to. I

20 just know that they grabbed the tickets from me.

21 Q. Where did you get those tickets?

22 A. I bought them.

23 Q. From who?

24 A. I can't remember who I bought it from, but I

25 bought them from a customer that was outside selling

 

  

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WILLIAM ANDERSON; July 7, 2010

 

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Page 93
He just asked for my ID, and then another

gentleman came, taller gentleman came, and they asked
for my ID and asked for the tickets. I gave them the
tickets, and then I told them I didn't do nothing
wrong.

I said -- the gentleman even explained to them

 

that we were coming across the street to close the deal
and that I explained to him that we needed to go across

the street if he wanted to get some tickets from me.

 

So I requested to get the guy's information,
his ID information so he could be my witness, and they
refused to let me get his information. They told him
to go ahead and walk across the street and get out of
here or not get out of here but just go across the
street and get away.

After that I had called 911 immediately during

all this, because I wasn't sure who they were, and I

 

just wanted to get some assistance from an officer who
could sort this out, because I was getting tired of
getting harassed by the officers, so I called 911 to
get an officer to come down.

Right when I called the tall gentleman who

came across the street, who was an off duty officer, I

 

suppose, he got on his phone and called somebody and

was like -- I don't know exactly what he said, but all

       

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WILLIAM ANDERSON; July 7, 2010

 

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incidents were allegedly observed.

There's an objection, and then the answer

 

says, "Plaintiff believes that he has witnessed these
incidents at almost every game he has worked.
Investigation and discovery is continuing. This answer
may be supplemented."

Can you tell me of any particular instance

where you've seen police department officials ignoring

 

mobile vending going on around the stadium?

A. Other than tickets?

 

Q. Other than tickets.

A. Yes.

Q. Tell me a specific instance.

A. People selling parking tickets. People that
got illegal -- main thing that I've witnessed is the
parking, people selling parking tickets.

Q. Does that occur up by the parking facility
there that's by the stadiums?

Tt occurs all around the stadium.

 

A.

Q. Where are the people selling tickets to park?
A. On the Mariners property.

Q. Where on the Mariners property?

A. They're just -- they're -- they're basically

selling them wherever they can sell them. It doesn't

 

matter.

       

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WILLIAM ANDERSON; July 7, 2010

 

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1 Q. Are these people who are standing by lots to
2 entice people to come in and park in the lot?
3 A. All I know is that they're standing by the

4 lots. They're just trying to sell their parking
5 tickets.
6 Q. So they're trying to fill up the lots around

7 the stadium by --

8 A. No. These are people that have extra parking
9 tickets that are Mariner fans.
10 Q. Are any of these people on the sidewalks that

11 are actually adjacent to the Safeco Field facility?

12 A. You got people that are adjacent. You got

13 people that are on Mariners property selling parking

14 tickets.

15 Q. I'm confused, because wouldn't the people that
16 are already by the stadium, wouldn't they have already

17 parked someplace?

18 A. Sometimes they have extra tickets.

19 Q. Extra --

20 A. I mean extra parking tickets.

21 Q. I understand, but why would they try to sell

22 them to people who have already parked someplace?
23 A. They're trying -- they're actually trying to

24 catch people -- sometimes they try to approach us to

 

25 buy a parking ticket along with their tickets or they

 

   

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WILLIAM ANDERSON; July 7, 2010

 

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might be trying to sell them to somebody that's driving
by because they know they're going to the game and so
they're trying to catch them before they go into the
parking lot so they can sell their parking tickets to
them that are actually, you know, parking tickets for
the Mariners parking lot.

Q. The Mariners parking lot, are you talking
about the parking facility that is toward downtown and
a little bit toward I-5 from Safeco Field?

A. No, sir.

Q. Which Mariners parking facility are you
talking about?

A. The one that's located off of Occidental and
Edgar Martinez.

Q. Okay. And it requires a ticket to get in?

A. It requires a parking ticket to get in, yes.

Q. Have you ever seen police officers or law
enforcement officers observe these sales and ignore
them?

A. Actually, I really don't pay attention, but I
notice that they never get harassed for selling parking
tickets.

Q. Have you seen anything else in the way of
selling of mobile vending of items other than tickets

to the sporting events near the stadium that have been

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WILLIAM ANDERSON; July 7, 2010

 

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1 ignored by law enforcement?

2 A. That's the only thing I can think of right
3 now.

4 Q. Have you seen other ticket sellers issued

5 citations for selling tickets?

6 A. Yes, sir.

7 (Mr. Mullins left the room.)

8 Q. (BY MR. BUCK) Who?

9 A. I've just witnessed people being given

10 citations.

11 Q. Have you seen Ben issued citations for selling

12 anything?

13 A. No.
14 Q. How about Andre?
15 A. I've witnessed -- I've witnessed one

16 Situation, I believe, where he was harassed by

17 officers.

18 Q. How about Matt -- I don't know his last name.
19 How about Matt?

20 A. There's been a lot of situations over the

21 years. I can't remember them all.

22 Q. Can you tell me specifically whether you've
23 seen Matt approached by officers for selling tickets?
24 A. I can't remember exactly when, but I've seen

25 Matt approached.

 

 

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WILLIAM ANDERSON; July 7, 2010

 

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Page 122
A. I'm not sure.

Q. Now, I think what prompted that question was
your statement that you had done a lot of research back
when you were trying to get a permit. Did I understand
that correctly?

A. I've done a lot of research, yes.

 

Q. And before you went in to seek that permit,
what sort of research did you do?

A. Checked to see on the bonding, how much the
bonding insurance was, getting information from SDOT on
the correct way on the process of selling tickets, just
filling out an application to apply and do everything
the correct way.

Q. Did you actually go to SDOT to ask them about
the permitting process?

A. Yes, I did.

Q. Do you remember who you talked to?

A. It was a gentleman that was in the front
office. The gentleman's name was Keith.

Q. Do you remember what kind of a permit you
applied for in 2005?

A. It was a permit, street permit, street use
permit.

Q. Was that for a fixed location?

A. Yes, it was.

 

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WILLIAM ANDERSON; July 7, 2010

 

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Page 124 :
A. I don't recall. I don't remember.

Q. In 2005, were you successful in getting the

permit?

 

A. I was told by the gentleman that worked in
SDOT -- I can't remember if it was Keith Miller, but

the gentleman that I was dealing with on a consistent

 

basis when I was going to SDOT, he said that the City
attorney gave him the go that it was okay and that it
was legal to do so, but he told me he was not going to
give it to me.

Q. Did he tell you why he wasn't going to give it
to you?

A. He just told me he didn't want to give it to
me.

Q. Do you remember any reason given by Mr. Miller
for why you were not going to get that permit?

A. He just told me he didn't want to give it to

 

me.

Q. Do you know, Mr. Anderson, whether your effort
to obtain the permit was before or after the city
council revoked the anti-scalping law?

A. Repeat that question again, please.

Q. Sure. Let me ask a more fundamental question.
Are you aware that the City used to have a law that

prohibited scalping tickets?

 

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1 A. Was I aware then or now?

2 Q. At any time have you been aware of that?

3 A. I'm aware of that now.

4 Q. You're aware of it now?

5 A. But I was aware of it also as of yesterday
6 too.

7 Q. Do you know when the City revoked that

8 ordinance, the anti-scalping ordinance?

9 A. I have no idea.

10 Q. We went through a list of folks that sell
11 tickets around the stadium a little earlier. We went

12 through quite a few names there. Do you know any other

13 ticket sellers that are routinely out there trying to

 

14 get rid of or trying to sell Mariners tickets?

 

15 A. Yes, I do.

16 Q. Who are the other ones you know?
17 A. I know a guy named Van.

18 Q. Do you know Van's last name?

19 A. I'm not sure.

20 Q. Would his number be in your phone by any
21 chance?

22 A. No.

23 Q. Do you know any others?

24 A. I know Eric.

25 Q. Eric?

 

  

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WILLIAM ANDERSON; July 7, 2010

 

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A. Not true.

Q. When did you next try to get a permit?

A. I made an attempt several months ago.

Q®. In 2010?

A. Yes, sir.

Q. Tell me about that effort.

A. We went to SDOT to -- I went to SDOT to apply,
and a gentleman up there -- and I can't remember his
name -- basically he told us that there was no way that

I can get an application to get a permit to sell
tickets.
Q. You don't remember that fella's name?

A. No, I don't.

 

Q. Were you alone when you went up and talked to
that gentleman?

A. No, sir.

Q. Who was with you?

A. I had a lady with me.

 

Q. Who was that lady?

A. I forgot her name. It was a lady that went
with me. I forgot her name.

Q. Why was she with you?

A. She was going with me to see exactly if they
were going to allow me to get a permit or not.

Q. Why did she have any interest in that?

  

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WILLIAM ANDERSON; July 7, 2010

 

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A. So what was the question again, sir?

Q. Mr. Young told you that SDOT doesn't issue
mobile vending permits?

A. Basically that's what he said.

Q. Did he tell you you couldn't apply for one of
the other permits that they do issue around the
stadiums?

A. We never really spoke on that issue.

Q. Have you ever attempted since 2005 to obtain
any other kind of a permit, any permit other than a
mobile vending permit in order to lawfully sell tickets
around the stadium?

A. No, sir.

Q. Have you done any research as to whether or
not that is an option?

A. No, sir.

Q. Do you know what the difference is between a
stadium vending permit and a mobile vending permit?

A. No, sir.

Q. Have you ever investigated where City
ordinances allow mobile vending to occur in the city of
Seattle?

A. No, sir.

(Deposition Exhibit 6 was marked for

identification.)

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WILLIAM ANDERSON; July 7, 2010

 

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1 argue about that.

2 MS. MATHEWS: I hope we won't have to

3 argue about that.

4 MR. FORD: However, I do have a couple

5 questions of my own.

6 EXAMINATION
7 BY MR. FORD:
8 Q. Mr. Buck asked you some questions earlier

9 having to do with seeing people selling things around
10 the stadium. Have you ever seen anybody selling like
11 hats or anything like that or team kind of things
12 around the stadium?

13 A. Yes, I do.

14 Q. And have you seen them selling -- you know

15 those lights that people have they can put around their
16 neck?

17 A. Yes. They sell lights. I forgot what they
18 call them. Fluorescent green lights.

19 Q. What about peanuts, popcorn, Cracker Jack?

20 A. Peanuts, popcorn, Cracker Jacks. They walk
21 around and they sell candy bars. Sometimes I see them
22 walking around selling ice cream.

23 Q. Do you know anything about what kind of

24 permits those people have?

25 A. I have no idea.

 

   

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WILLIAM ANDERSON; July 7, 2010

 

Page 182 |
1 Q. Have you seen those people harassed by the

2 police or ticketed by the police?
3 A. No.

4 Q. Mr. Buck asked you some questions about a cell

 

5 phone that you've got some pictures on.

6 A. Correct.

7 Q. Can you explain a little bit about what the

8 status of that cell phone is and why?

9 A. The reason why we don't have the pictures is
10 because the cell phone screen is broke, so we're

11 waiting. We're going to get it repaired as soon as

12 possible.

13 MR. FORD: And I'll just tell you we

14 want to make sure we don't do anything that erases

15 them, so that's why we've been careful.

16 Q. (BY MR. FORD) Now, the complaint, do you have
17 that? Where is that? Here we go. Exhibit Number 3.
18 And I just want to make sure you know what we're

19 talking about with all these different dates. Can you

20 take a look, please, at this June 18, 2006,

 

21 description? Have you had a chance to read that over?
22 A. Yes.

23 Q. I actually asked you to read that over earlier
24 at the break, right?

25 A. Yes, sir.

 

     

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WILLIAM ANDERSON; July 7, 2010

 

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CORRECTION & SIGNATURE PAGE
RE: ANDERSON v. THE BASEBALL CLUB OF SEATTLE;
USDC; CO9-0850 RAd;
WILLIAM ANDERSON; July 7, 2010
Reported By: Mary L. Green

I, WILLIAM ANDERSON, have read the within transcript
taken July 7, 2010, and the same is true and accurate except
for any changes and/or corrections, if any, as follows:

PAGE/LINE CORRECTION REASON

79224 I'm not sure Upon review of the question in
my transcript, I'm not sura.

 

88:8 I spoke to an African Upon review of the question in
American Officer. His my transcript, I'm not sure.
name night not be Daman,

 

 

 

 

 

 

 

 

 

 

 

Signed at Seattle , Washington, on this

date: August 12, 2010

WILLIAM ANDERSON

 

 

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WILLIAM ANDERSON; July 7, 2010

 

 

 

 

 

 

 

1 REPORTER'S CERTIFICATE

2

3 I, MARY L. GREEN, the undersigned Certified Court

4 Reporter, pursuant to RCW 5.28.010 authorized to administer

5 oaths and affirmations in and for the State of Washington, do
6 hereby certify:

7 That the sworn testimony and/or proceedings, a transcript
8 of which is attached, was given before me at the time and

9 place stated therein; that any and/or all witness(es) were

10 duly sworn to testify to the truth; that the sworn testimony
11 and/or proceedings were by me stenographically recorded and
12 transcribed under my supervision, to the best of my ability;
13 that the foregoing transcript contains a full, true, and

14 accurate record of all the sworn testimony and/or proceedings
15 given and occurring at the time and place stated in the

16 transcript; that I am in no way related to any party to the
17 matter, nor to any counsel, nor do I have any financial

18 interest in the event of the cause.

19 WITNESS MY HAND AND DIGITAL SIGNATURE this 14th day of
20 July, 2010.
21
22 MARY L. GREEN

Washington State Certified Court Reporter, #2981

23 mgreen@yomreporting.com
24 Click Link to Verify Signature:
25 (Https://digitalid.verisign.com/services/client/index.html)

 

  

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